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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY
                                   AT TRENTON

                                                    )
 BRYAN MESSENGER,                                    )
                                                     )
        Plaintiff,                                   )      Case No.: 3:17-cv-03755
                                                     )
 v.                                                  )
                                                     )
 NATIONAL BOARD OF MEDICAL                           )
 EXAMINERS                                           )
      Defendant.                                     )
                                                     )
                                                     )
_________________________________________________________________________________
                      REQUEST BY LOCAL COUNSEL FOR
              PRO HAC VICE ATTORNEY MICHAEL STEVEN STEIN
                   TO RECEIVE ELECTRONIC NOTIFICATION
  _________________________________________________________________________

       Request is hereby made by local counsel for pro hac vice counsel to receive electronic
notification in the within matter, and it is represented that:

        1.      An order of the Court granting a motion to appear pro hac vice in the within
                matter has been entered; and

        2.      If admission was granted after M arch 22, 2005, the Admission Fee, in
                the amount of $150, pursuant to L.Civ.R. 101.1(c)(3), has been paid to
                the Clerk of the Court.

                                                   ____/s Clara R. Smit____________
                                                   CLARA R. SMIT, ESQ.

PRO HAC VICE ATTORNEY INFORM ATION:
 Name: Michael Steven Stein

 Address: Stein & Vargas, LLP
          840 First Street NE
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